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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

JOE ANDREW SALAZAR,                                §
                                                   §
              Plaintiff,                           §
                                                   §
   vs.                                             §    Civil Action No. 2:16-cv-01096-JRG-RSP
                                                   §
HTC CORPORATION,                                   §
                                                   §
              Defendant.                           §

                                DECLARATION OF ANYA S. ENGEL

I, Anya S. Engel, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the following

is true and correct:

         1.         I am a law clerk of Meredith & Keyhani, PLLC, attorneys for Plaintiff Joe Andrew

Salazar in the above captioned case. I am over 21 years of age. I have personal knowledge of the

following facts.

         2.         On April 18, 2018, I purchased a new-in-box Hughes Remote Phone (“900 MHZ

Phone and Remote Combo”) on Amazon.com from seller Second Hand Cash.

         3.         Attached as Exhibit D is a true and correct copy of the Amazon.com invoice for

the purchase.

         4.         After receiving the phone and removing it from its original packaging, I verified

that the base station is marked with a label reading “U.S. Patent 5,802,467.” This label is identical

to those on the I3 samples.

         5.          Attached as Exhibit E is a true and correct copy of photographs of the Hughes      Commented [AE1]: Are there multiple or just one?


Remote Phone I purchased.

         Dated: April 25, 2018
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                                 /s/ Anya S. Engel
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